

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NOS. 639-03, 773-03 &amp; 774-03






KELVIN DEWAYNE BOWIE, Appellant



v.



THE STATE OF TEXAS






ON APPELLEE'S AND STATE'S

PETITIONS FOR DISCRETIONARY REVIEW

FROM THE FIFTH AND TWELFTH COURT OF APPEALS

DALLAS COUNTY AND SMITH COUNTY 




	Holcomb, J., delivered the opinion of the Court, in which Meyers, Price,
Womack, and Johnson, JJ., joined.  Keller, P.J., joined in part and dissented
in part with note.  Cochran, J., filed a dissenting opinion, in which Keasler
and Hervey, JJ., joined. 


O P I N I O N 



	The question presented in these companion cases is whether punishment testimony by a defendant
offered in the course of a "timely pass for plea" proceeding is protected by Texas Rule of Evidence 410. 
We hold that it is.  We therefore affirm the judgment of the Dallas Court of Appeals (1) and reverse the
judgment of the Tyler Court of Appeals (2).

I.  The Relevant Facts

	On October 29, 2000, appellant shot Michael Wideman at a fast-food restaurant in Smith County. 
On May 10, 2001, appellant testified to a Smith County Grand Jury that: 1) he was defending his sister
when he shot Wideman, and 2) he did not look for a gun to shoot Wideman.  Appellant was indicted for
Wideman's murder. 

A.  The "Timely Pass for Plea" Proceeding

	On October 4, 2001, appellant appeared before the Honorable Cynthia S. Kent in a Smith County
district court for a "timely pass for plea."  Judge Kent does not entertain plea bargain agreements.  She
implemented the "timely pass for plea" procedure to encourage defendants, who would not otherwise plead
guilty without a plea agreement, to resolve their cases short of trial.  Under the "timely pass for plea"
procedure in Judge Kent's court, the State consents to the defendant's waiver of jury trial and the
defendant enters a guilty plea, both parties understanding that the court will allow the defendant to withdraw
the plea if the punishment assessed exceeds that to which the defendant would agree.  After evidence
supporting the plea is presented, the court hears evidence and argument on the issue of punishment and
makes and announces a punishment decision.  The trial court then gives the defendant the option of
accepting that sentence or withdrawing his plea and receiving a jury trial.  If the defendant does not ask to
withdraw the plea, the judge enters judgment on the plea.

	Appellant pled guilty to murder.  Judge Kent accepted his plea and his written judicial confession
as sufficient evidence supporting the plea, acknowledged that she had received and reviewed the
presentence report, and heard evidence and argument on the issue of punishment.   The State called three
witnesses, and then the defense called two witnesses, including appellant.

	Appellant waived his Fifth Amendment right to remain silent after being advised by the court that
such waiver would make him subject to cross-examination by the State.  Appellant testified, under oath,
that he did not, as he had told the Grand Jury, go home to go to sleep, but rather to find a gun, and that he
shot Wideman not because he was defending his sister but "[b]ecause I was tired of him picking on me and
just kept on taking things from me.  I just got fed up with it."	

	After appellant testified and the parties gave their punishment arguments, Judge Kent announced
her punishment assessment: fifty years confinement and a $5,000 fine.  Appellant decided he wanted to
withdraw his plea.  Judge Kent allowed appellant to withdraw the plea and set the case for trial the
following week.  Judge Kent, granting appellant's motion to transfer, transferred his case to the 363rd
District Court in Dallas County.

B.  The Dallas County Murder Trial

	The State sought a pretrial ruling from the Dallas County District Court on the admissibility of
appellant's "timely pass for plea" punishment testimony.  Concluding that Rule 410(3) protected only the
actual plea, the Dallas County District Court admitted, and the State presented to the jury at the
guilt/innocence phase of the trial, statements appellant made during the Smith County plea proceeding on
the issue of punishment.  The jury convicted appellant of murder and assessed punishment, enhanced, at
thirty years imprisonment.

	On appeal, the Dallas Court of Appeals held that, based on the plain language of Rule 410(3), the
trial court had abused its discretion in concluding that the Rule protected only the actual plea.  Concluding
that the error was harmful, the Dallas Court of Appeals reversed and remanded for a new trial. (3)

C.  The Perjury Charges in Smith County

	Meanwhile, in Smith County, the State filed two aggravated perjury charges against appellant based
on his inconsistent grand jury and plea-proceeding statements.  Appellant filed a pre-trial motion to
suppress the plea-proceeding statements based, once again, on Rule 410(3).  Judge Kent held a hearing
and granted appellant's motion.  Her ruling was based on her conclusions that the "timely pass for plea"
proceeding was comparable to a proceeding under Federal Rule 11 and that appellant's statements were
made in the course of that proceeding.  The State appealed.  

	The Tyler Court of Appeals, with one justice dissenting, held that, for purposes of Texas Rule of
Evidence 410(3), Judge Kent's "timely pass for plea" procedure is not a state procedure comparable to
the plea agreement proceedings under Federal Rule 11 because there was no compromise between the
State and appellant and the judge was orchestrating the entire process. (4)  The Tyler Court of Appeals,
stating that the trial judge viewed the proceedings as a trial and placed the defendant under oath, said that
no one is allowed to lie under oath during a judicial proceeding. (5)  The Tyler Court of Appeals held that
appellant's testimony was not protected by Rule 410(3) and was admissible as evidence in a trial on the
perjury charges. (6)

	We granted the State's petition in the Dallas case and appellant's petition in the Tyler cases to
resolve the courts of appeals' conflicting decisions on the same issue on the same facts. (7) 

II.  Standard of Review

	Although a trial court's ruling on the admissibility of evidence is generally reviewed under an abuse
of discretion standard, when the case presents a question of law based on undisputed facts, the issue is
reviewed de novo. (8)  We review this case de novo.  


III.   Analysis

	This is a case of first impression.  This Court has never interpreted Texas Rule of Evidence  410(3). 
We must determine whether the "timely pass for plea" procedure utilized by the Smith County District
Court is a proceeding under Federal Rule 11 or comparable state procedures.  We must also determine
whether a defendant's sworn testimony from the witness stand regarding punishment constitutes a statement
made in the course of the plea proceedings as referred to in, and protected by, Rule 410(3).

A.  The Relevant Statutes

	Texas Rule of Evidence 410(3) (9) makes inadmissible against the defendant in a subsequent
proceeding "any statement made in the course of any proceedings under Rule 11 of the Federal Rules of
Criminal Procedure (10) or comparable state procedure regarding . . . a plea of guilty that was later withdrawn . . . ."  This exclusion is necessary to protect the withdrawal of the plea itself.  It would defeat
the purpose of Rule 410 to exclude evidence of the plea but admit all of the defendant's statements and
concessions made during a formal plea proceeding when that plea is later withdrawn. (11)  

	Federal Rule 11, to which Rule 410(3) refers, is entitled "Pleas" and provides what pleas may be
entered and the procedures required when a guilty plea is entered; i.e., advising the defendant, determining
the voluntariness and accuracy of the plea, and recording the proceedings.  Rule 11 also sets out a plea
agreement procedure, bringing the common practice of plea bargaining into open court. (12)  It provides that
any bargain must be disclosed in open court, sets forth what types of bargains could be made, provides
additional advice the trial court must provide the defendant regarding the ability of the court to accept or
reject the bargain, requires the trial court to inform the defendant of its decision and the consequences
thereof, and requires the trial court to permit the defendant to withdraw the plea if the trial court rejects the
bargain.  However, a court is free not to permit the parties to present plea agreements. (13)  

	Specifically, Rule 11(e)(1) provides that the State and defendant may agree that the State will move
for dismissal of other charges; make a recommendation, or agree not to oppose the defendant's request,
for a particular sentence; or agree that a specific sentence is the appropriate disposition of the case.  Rule
11(e)(2) provides that the court may defer its decision on the agreement until it has had an opportunity to
consider a presentence report.  Rule 11(e)(3) provides that if the court accepts the plea agreement, the
judgment and sentence shall embody the disposition provided for in the plea agreement.

	Rule 410(3) refers to Rule 11 as a whole, encompassing plea proceedings in which a plea
agreement is presented to the court as well as those in which there is no plea agreement presented.  Texas
does not have a single statutory analog to Federal Rule 11, but there are several articles in the Code of
Criminal Procedure that correspond to the various provisions of Rule 11.  Article 27.13, entitled "Plea of
guilty or nolo contendere in felony" provides that:  " A plea of "guilty" ... in a felony case must be made in
open court by the defendant in person; and the proceedings shall be as provided in Articles 26.13, 26.14
and 27.02.  If the plea is before the judge alone, same may be made in the same manner as is provided for
by Articles 1.13 and 1.15."

	Article 26.13 sets out the admonishments a defendant must receive before he enters a guilty plea,
including both the defendant's right to withdraw a plea should the court reject a plea bargain and the
defendant's limited right to appeal, without the trial court's permission, only those matters raised by written
motions filed prior to trial, unless the trial court accepts the plea agreement, but assesses punishment in
excess of that recommended by the prosecutor and agreed to by the defendant.  Article 26.13 also requires
that the plea must be knowing, free and voluntary.  Article 26.14 requires a defendant who persists in
pleading guilty to have a jury impaneled to hear evidence and assess punishment unless the defendant has
waived the right to trial by jury.  Article 27.02, entitled "Defendant's pleadings" provides that a defendant
may enter a plea of guilty.  Articles 1.13 to 1.15 set out the procedures for waiving a jury trial and other
constitutional rights before entering a plea.  In a felony case they require the State to introduce sufficient
evidence to support the judgment of guilt and allow for stipulated evidence if the defendant consents in
writing.  

	The Texas Code of Criminal Procedure does not specify what types of bargains the State and
defendant may enter into and present to the court.  Nor does it require that the trial court, upon accepting
a plea agreement, embody in the judgment and sentence the punishment agreed to by the parties.  The trial
court may assess a lower sentence than that agreed to by the State.  

	Regardless of these differences, Texas statutes governing the procedures involved when a
defendant pleads guilty are intended to be included in Rule 410(3) as comparable to procedures under
Federal Rule 11.   The language in Rule 410(3) regarding "comparable state procedures" allows the
protection of Rule 410(3) to extend to statements made in the course of similar procedures in other states. 


B. "Timely Pass for Plea" and procedures under Rule 11 or comparable State procedures

	 We recognize that the "timely pass for plea" procedure is distinct from an open plea of guilt, a
conditional plea, or a plea bargain agreement between the State and defendant regarding dismissal of other
actions, punishment recommendations, or a maximum punishment which is subject to the trial court's
approval.  However, Rule 410(3) does not require that procedures be identical to those followed pursuant
to Federal Rule 11, only that they be comparable.  The "timely pass for plea" proceeding, while not
governed by Federal Rule 11, is comparable to procedures under Federal Rule 11 as well as procedures
under the corresponding provisions of the Texas Code of Criminal Procedure.  

	The procedure incorporates the safeguards provided by both Rule 11 and comparable state
procedure, ensures the voluntariness of the plea by ensuring it is not made pursuant to promises made by
the State that have not been introduced to the trial court, and encourages the parties to resolve the case
short of trial. 

	The trial court, as required by Rule 11(e)(1), did not participate in any discussions between the
parties concerning any of the plea agreement options outlined.   The trial court did not ask for notice of any
such agreement reached between the parties, as required by Rule 11(e)(2), but did explicitly notify the
parties that she rejected any such agreement, as required by Rule 11(e)(4).   Instead, the trial court ensured
that both defendant and State understood the "timely pass for plea" procedure and agreed to waiving the
right to a jury trial under the terms of that procedure.  The trial court provided the advice required by Rule
11(c), insured that the plea was voluntary as required by Rule 11(d), determined the accuracy of the plea
as required by Rule 11(f) based on appellant's stipulations, and recorded the proceedings as required under
Rule 11(g). 	

	The procedure is also consistent with corresponding provisions of the Texas Code of Criminal
Procedure.  Defendant pleaded guilty as provided by Article 27.02.  Pursuant to Article 27.13, the
defendant waived the right to trial by jury with the consent and approval of both the court and the attorney
for the State, stipulated to the evidence against him and waived the right to confrontation and cross-examination as provided by Articles 1.13 to 1.15.  Likewise, the trial court admonished appellant, informed
appellant in open court, before making a finding on the plea, that she would reject any plea agreement, and
determined that appellant was competent to plead as required by Article 26.13.  Because appellant had
waived the right to have a jury impaneled to assess the punishment, the trial court heard the evidence on
which the punishment assessed would be based, and announced the court's assessment, pursuant to Article
26.14. 

	The trial judge then, pursuant to the procedure to which the parties had agreed, before entering
judgment and upon appellant's request, exercised her discretion to allow appellant to withdraw his plea. 
We note that the State did not object to the request for withdrawal, the court's exercise of discretion in
allowing appellant to withdraw his plea, nor the trial judge's announcement, prior to entrance of the plea,
that she intended to exercise her discretion in this manner.  Conversely, the State agreed to the use of the
"timely pass for plea" procedure in consenting to appellant's jury trial waiver.  

	While the "timely pass for plea" is not a plea bargain, the procedure provides the same net effect
as plea bargaining does.  Both the State and the defendant receive the benefit of the potential of resolving
the case short of trial.  Although the benefit was not realized in this particular case, the procedure is
apparently quite effective, and thus the State, in waiving its right to a jury trial, accepted the risk that the
case would not be resolved through this plea process, just as it does when employing a plea agreement
procedure where the trial court may not accept the agreement.  Unlike a plea agreement, the State did not
have to offer to be bound by a lower sentence than the State was legally entitled to seek or to forego
prosecution on other potential charges for the benefit of resolving the case short of trial.  However, just as
the State was not bound to a compromise, neither was the  defendant.  This is the trade off provided by
the trial court's "timely pass for plea" procedure.  The procedure was provided as a middle ground: one
that encourages defendants to plead guilty and yet protects them from pleading guilty based only on the
potential benefit the defendant believes he may receive based on the prosecutor's willingness to
compromise. 

	Although the "timely pass for plea" procedure is not identical to procedures under Federal Rule
11, it is comparable to those procedures and consistent with, insofar as it does not conflict with, state plea
procedures.  Therefore, any statement made in the course of any procedures under a "timely pass for plea"
when the guilty plea is later withdrawn, will be protected by Rule 410(3).

C. Punishment Testimony

	The argument that statements made to enable the court to assess punishment are somehow 
excluded from the protection of Rule 410(3) relies on a distinction that does not exist in Rule 410(3). 
Because the "timely pass for plea" procedure is comparable to procedures under Rule 11, Rule 410(3)
protects any statement made in the course of that procedure. 

	Contrary to the State's contention, Rule 410(3) does not protect only the entry of the plea or
written stipulations.  If Rule 410(3) were limited only to the defendant's entry of his plea of guilty, it would
be meaningless, because the plea of guilty is already protected under Rule 410(1).  Likewise, evidence to
support the guilty plea may be introduced in the form of written stipulations, but may also be presented
orally. (14)  Furthermore, if the defendant does not waive appearance, confrontation, and cross-examination
of witnesses, the evidence may be presented through testimony under oath by witnesses, including the
defendant. (15)  Therefore, Rule 410(3) does not protect only written stipulations and does not exclude from
its protection statements made under oath and subject to cross-examination.  

	The State also contends that Rule 410(3) excludes statements made on the issue of punishment
because the rule protects only statements made regarding the plea itself, in other words, statements
supplying the factual basis of the plea.  However, statements made for purposes of assessing punishment
may relate to the circumstances of the charged offense and support or undermine the factual basis for the
plea.  At the time judgment is rendered, there must be a factual basis for the plea. (16)  A plea of guilty is not
final until judgment is entered. (17)  In a guilty plea proceeding, judgment is entered after or simultaneous to
the imposition of punishment. (18)   

	Furthermore, a trial court may exercise its discretion and allow a defendant to withdraw a guilty
plea at any time before judgment is entered. (19)  Although one of the purposes for Rule 410 is to encourage
plea bargaining as a way to promote pleas of guilty to resolve cases short of trial, (20) the Rule is predicated
on the understanding that such pleas do not always end in a judgment, that some will be withdrawn, and
that to give effect to the withdrawal, statements made in the plea proceeding should not thereafter be used
against the defendant. (21)  The fact that Rule 410 is not restricted to plea bargain pleas of guilty that are later
withdrawn is evidence of this additional intent.  

	We find the State's distinction between statements regarding the plea and statements regarding
punishment to be a distinction without relevance under Rule 410(3).  "[R]egarding a plea of guilty later
withdrawn... ," describes the circumstance in which 410(3) will protect statements made in the plea
proceedings, it does not define a subcategory of statements made in the course of the plea proceeding.  We
interpret the plain meaning of Rule 410(3) to be that any statement made in the course of a "timely pass for
plea" proceeding where the plea of guilty is later withdrawn, will be inadmissible against the defendant who
made the plea, subject to the optional completeness exception to Rule 410.  

D.  No Exception for Perjury Prosecution or Impeachment

	Both the Tyler Court of Appeals and the State also suggest that the policy involved in protecting
statements under Rule 410(3) should not extend so far as to allow a defendant to lie under oath with
impunity.  

	The Federal Rule 11 Advisory Committee recognized that "voluntary statements of an accused
made in court on the record, in connection with a plea and determined by a court to be reliable should be
admissible even though the plea is subsequently withdrawn," particularly where "a defendant would be able
to contradict his previous statements and thereby lie with impunity."  Federal Rule 11 and Federal Rule of
Evidence 410, similar to Texas Rule of Evidence 410, both provide an exception that is somewhat more
limited than the advisory committee contemplated - that statements otherwise inadmissible under Federal
Rule 11 and Federal Rule 410 are admissible in a prosecution for perjury. (22)  Texas Rule of Evidence 410
does not include such an exception.  The reasons for this omission are not clear. (23)  Regardless of this
Court's opinion of the policy issues involved, we cannot read into the rule an exception for perjury
prosecutions.  We also note that not even Federal Rule 410 provides an exception for use of otherwise
inadmissible statements for impeachment purposes.

	Furthermore, but for the appellant having withdrawn his guilty plea, we know of no legal
impediment to prosecution for perjury under the facts of this case.  The protection afforded under Rule 410
applies only when a plea is subsequently withdrawn.  Therefore, it was in appellant's interest, as well as
the State's, for appellant to testify truthfully at the "timely pass for plea" proceeding if they were to be able
to dispose of this case without the necessity, expense, and uncertainty of a trial.  If the appellant shot the
victim while protecting his sister, as he testified before the grand jury, this could constitute a defense of
protecting a third person which might prevent the judge from accepting his plea of guilty.  Therefore,
regardless of its possible veracity, it became necessary for him to retract his prior inconsistent grand jury
testimony in order to attempt to resolve his case without going to trial.  

IV.  Conclusion

	Because we conclude that the statements the defendant made on the issue of punishment in the
course of the "timely pass for plea" procedure were protected under Rule 410(3), we affirm the judgment
of the Dallas Court of Appeals.  We also reverse the judgment of the Tyler Court of Appeals and render
judgment affirming the trial court's order that the plea-proceeding statements are inadmissible.

DELIVERED MAY 19, 2004

PUBLISH

note - 

KELLER, P.J. joins the Court's judgment insofar as it affirms the judgment of the Dallas Court of Appeals
but dissents to the Court's judgment insofar as it reverses the judgment of the Tyler Court of Appeals on
the perjury cases. 
1.  Bowie v. State, No. 05-02-00527-CR, 2003 Tex. App. LEXIS 1811 (Tex. App. - Dallas
2003)(not designated for publication).
2.  State v. Bowie, No. 12-02-00182/83-CR, 2003 Tex. App. LEXIS 1902 (Tex. App. -
Tyler 2003). 
3.  Bowie v. State, No. 05-02-00527-CR, at *9.
4.  State v. Bowie, 2003 Tex. App. LEXIS 1902, at *8-9.
5.  Id.
6.  Id. at *10.
7.  We granted review in the Dallas case on the State's sole ground:

(1)	The [Dallas] Court of Appeals erred by holding, after a defendant enters a plea of guilty and
stipulates to the evidence, and evidence is introduced by both sides and the defendant also
testifies to the facts of the crime, that the defendant's sworn testimony from the witness stand is
part of the plea proceedings and protected by rule 410(3) from admission in a subsequent trial,
after the [plea ]is allowed to be withdrawn.


	In the Tyler case, we granted review on appellant's six grounds:

(1)	The Tyler Court of Appeals' decision in this cause conflicts with another court of appeals'
decision on the same issue and concerning the same person and the same statements, to-wit:
Bowie v. State, No. 05-02-00527-CR.

(2)	The Tyler Court of Appeals has decided an important question of state law that has not been,
but should be, settled by the Court of Criminal Appeals, to-wit: whether the plea proceedings in
Texas must be uniform and be identical to the Federal plea proceedings before the prohibition
of Tex. R. Crim. Evid. 410(3) applies;

(3)	The Tyler Court of Appeals decision has decided an important question of state law in a way
that conflicts with the applicable decisions of the Court of Criminal Appeals, to-wit: the Court
has reversed the trial judge's determination to exclude evidence based on a legal theory never
presented to the trial judge, contrary to Martinez v. State, 91 S.W.3d 331 (Tex. Crim. App.
2002), as well as a host of other preservation of error cases;

(4)	The Tyler Court of Appeals has patently misconstrued a rule, to-wit: Tex. R. Crim. Evid.
410(3);

(5)	Justices of the Tyler Court of Appeals have disagreed on a material question of law necessary
to the court's decision; and

(6)	In permitting the State to prevail on appeal on a legal theory never advanced in the trial court,
the Tyler Court has so far departed from the accepted and usual court of judicial proceedings
as to call for an exercise of the Court of Criminal Appeals' power of supervision.
8.  Dyar v. State, 125 S.W.3d 460, 462 (Tex. Crim. App. 2003). 
9.  Rule 410 of the Texas Rules of Evidence, entitled "Inadmissibility of Pleas, Plea Discussions
and Related Statements," provides:


	Except as otherwise provided in this rule, evidence of the following is not admissible
against the defendant who made the plea or was a participant in the plea discussions:

	(1) a plea of guilty that was later withdrawn;

	(2) in civil cases, a plea of nolo contendere, and in criminal cases, a plea of nolo
contendere that was later withdrawn;

	(3) any statement made in the course of any proceedings under Rule 11 of the Federal
Rules of Criminal Procedure or comparable state procedure regarding, in a civil case,
either a plea of guilty that was later withdrawn or a plea of nolo contendere, or in a
criminal case, either a plea of guilty that was later withdrawn or a plea of nolo
contendere that was later withdrawn; or 

	(4) any statement made in the course of plea discussions with an attorney for the
prosecuting authority, in a civil case, that do not result in a plea of guilty or that result in
a plea of guilty later withdrawn, or in a criminal case, that do not result in a plea of guilty
or a plea of nolo contendere or that results in a plea, later withdrawn, of guilty or nolo
contendere. 
10.  Federal Rule 11 was amended in 2002.  It was the rule as amended in 1999 that was in
effect at the time of appellant's trial.  However, it was the rule as amended in 1989 that was in effect at
the time Texas Rule of Evidence 410 became effective, in 1998.  Rule 410 does not indicate whether it
is intended to refer only to the version of Federal Rule 11 in effect in 1998 or if it was intended to
incorporate subsequent amendments to the Federal Rule.  The 1999 amendments to Rule 11 do not
effect the outcome of this case.  However, in this opinion, Rule 11 will refer to the version in effect
in1998, Federal Rule 11 as effective December 1989, unless otherwise specified.    

* * * *

Federal Rule of Criminal Procedure 11, Pleas, eff. Dec. 1, 1989, read in relevant part:

(a) Alternatives.

	(1) In General.  A defendant may plead not guilty, guilty, or nolo contendere.  . . .  

(c) Advice to Defendant.  Before accepting a plea of guilty or nolo contendere, the court must address
the defendant personally in open court and inform the defendant of, and determine that the defendant
understands the following: . . . 

(d) Insuring That the Plea is Voluntary . . .

(e) Plea Agreement Procedure

	(1) In General.  The attorney for the government and the attorney for the defendant . . .  may
engage in discussions with a view toward reaching an agreement that, upon the entering of a
plea of guilty or nolo contendere to a charged offense, or to a lesser or related offense, the
attorney for the government will do any of the following:

		(A) move for dismissal of other charges; or 

		(B) make a recommendation, or agree not to oppose the defendant's request, for a
particular sentence, with the understanding that such recommendation or request shall
not be binding upon the court; or

		(C) agree that a specific sentence is the appropriate disposition of the case.  . . .  Such
a plea agreement is binding on the court once it is accepted by the court.

	The court shall not participate in any such discussions .

	(2) Notice of Such Agreement.  If a plea agreement has been reached by the parties, the court
shall, on the record, require the disclosure of the agreement . . . .  If the agreement is of the type
specified in subdivision (e)(1)(A) or ( C), the court may accept or reject the agreement, or may
defer its decision as to the acceptance or rejection until there has been an opportunity to
consider the presentence report.  If the agreement is of the type specified in subdivision
(e)(1)(B), the court shall advise the defendant that if the court does not accept the
recommendation or request the defendant nevertheless has no right to withdraw the plea.  

	(3) Acceptance of a Plea Agreement.  If the court accepts the plea agreement, the court shall
inform the defendant that it will embody in the judgment and sentence the disposition provided
for in the plea agreement.

	(4) Rejection of a Plea Agreement.  If the court rejects the plea agreement, the court shall, on
the record, inform the parties of this fact, advise the defendant personally in open court . . . that
the court is not bound by the plea agreement, afford the defendant the opportunity to then
withdraw the plea, and advise the defendant that if the defendant persists in a guilty plea . . . the
disposition of the case may be less favorable to the defendant than that contemplated by the
plea agreement. 

	(5) Time of Plea Agreement Procedure . . .

	(6) Inadmissibility of Pleas, Plea Discussions, and Related Statements.  Except as otherwise
provided in this paragraph, evidence of the following is not, in any civil or criminal proceeding,
admissible against the defendant who made the plea or was a participant in the plea discussions: 

		(A) a plea of guilty which was later withdrawn;

		(B) a plea of nolo contendere;

		(C) any statement made in the course of any proceedings under this rule regarding
either of the foregoing pleas; or

		(D) any statement made in the course of plea discussions with an attorney for the
government which do not result in a plea of guilty or which result in a plea of guilty later
withdrawn.  

	However, such a statement is admissible (i) in any proceeding wherein another statement made
in the course of the same plea or plea discussions has been introduced and the statement ought
in fairness be considered contemporaneously with it, or (ii) in a criminal proceeding for perjury
or false statement if the statement was made by the defendant under oath, on the record, and in
the presence of counsel.  

(f) Determining Accuracy of Plea.  Notwithstanding the acceptance of a plea of guilty, the court should
not enter a judgment upon such plea without making such inquiry as shall satisfy it that there is a factual
basis for the plea.

(g) Record of Proceedings . . .
11.  See, e.g., United States v. Davis, 617 F.2d 677 (D.C. Cir. 1979), in which the court of
appeals explained the exclusionary purpose of Fed. R. Evid. 410(3): 

	Other statements made "during proceedings in connection with the disclosure and
acceptance or rejection of a plea agreement" fall within the rule as well.  Excluding
these statements is necessary to effectuate the rejection or later withdrawal.  Were the
statements admissible, the defendant's own incriminating words, inseparably linked to a
plea now regarded as a nullity, in many cases would operate to convict him, thereby
rendering meaningless the rejection or withdrawal. 

	Id.  At 684 (citations omitted).
12.  See Fed. R. Crim. P. 11 advisory committee's note 1974.
13.  See Fed. R. Crim. P. 11 advisory committee's note 1975. See also Fed R. Crim. P. 32(e).
14.  Tx. Crim. Proc. Code art. 1.15.  
15.  Id. 
16.   See United States v. Ventura-Cruel, 356 F.3d 55, 60 (1st Cir. 2003)(finding that the
"factual predicate for a guilty plea must exist not only at the time that the court initially accepts the plea,
but also when it imposes sentence." Therefore, any acceptance of the plea prior to judgment is
necessarily preliminary.). 
17.  See Id. 
18.  See Id.
19.   See Gutierrez v. State, 108 S.W.3d 304, 309 (Tex. Crim. App. 2003)(recognizing that the
trial court's discretion to allow a defendant to withdraw a guilty plea is not restricted except where
Texas Code of Criminal Procedure 26.13 makes allowing withdrawal mandatory.); See also Fed. R.
Crim. P. 11(d) (2003)(providing when and under what circumstances a defendant may withdraw a
plea of guilty in federal court).
20.  See Fed. R. Evid. 410 advisory committee's note ("[e]xclusion of offers to plead guilty or
nolo has as its purpose the promotion of disposition of criminal cases by compromise.")
21.  See, e.g., Kerchaval v. United States, 274 U.S. 220, 224 (1927); United States v. Davis,
617 F.2d 677, 684 (D.C. Cir. 1979).  
22.   Fed. R. Crim. P. 11(e)(6); Fed. R. Evid. 410.
23.  See 1 Steven Goode, Olin Guy Wellborn, III, M. Michael Sharlot, Texas
Practice: Guide to the Texas Rules of Evidence: Civil and Criminal § 410.4, at 356 (3d ed.
2002). 


